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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              casexo.18l9- boâoo-e#-'psoRaNolslw
                                        U.S.C.j1349
                                       18U.S.C.j 1347
                                       18U.S.C.519561)
                                       18U.S.C.j1957(a)                         R LED BY                   D,C.
                                       18U.S.C.52
                                       18U.S.C.9982(a)(1),(a)(1)                       J0: 112219
   UNITED STATES OF AM ERICA                                                          ANG'LAE.NOBLE
                                                                                     CKERK
                                                                                    s.o.o,eUtk.
                                                                                              S.nIA CT.
                                                                                                -gr.aun.
   V:.

   ALIAHM EP
   SEBASTIANkHMEP
   IlEce
       roREFRAINAtlu u z,a.d
   M Atrltlx M ou t.,

                        Defendants.
                                           /

                                         INDICTM ENT
         TheGrand Jury chargesthat:

                                  GENERAL ALLEGATIONS
         AtalltimesrelevanttothisIndictment:

                                Druaand AlcoholRehabilitation
                ln recentyears,South Florida hasbecomethe locusfordrug and alcoholaddicts
  seeking assistance in an effortto becom eand remain sober. Substance abuse treatmentccnters

  thatassistsuchpersonstmdergoing detoxiGcationfrom anintoxicating oraddictivesubstanceare
  regulated understate and federallaw . These substance abuse treatm entcenters ordetox centers,
                                                                                .

  offera continuum of care including, from m ostintensive to leastintensive
                                                                          ,   as follow s:inpatient
  ddox.PartialHospitalization Programs (PHP's), lntensive OutpatientPrograms (IOP's).and
  OutpatientPrograms(OP's). Personsundergoing treatmenton an outpatientbasis,whether in
                                                                      -
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     PHP,IOP,orOP,typicallyelectto livein a'srecovery residence''also known asaSlsobcrhome''
                                                                     ,

     or'thalfway house,g'with otherpersonswho are also in treatmentand
                                                                            com m itted to a drug and
     alcohol-fretlifestyle.

            2.   Detox is meantfor individuals who are stilladdicted to and using contr
                                                                                            olled
    substancesand/oralcohol, Detox facilitiesare inpatientfacilitieswhere patientsare assisted i
                                                                                                     n
    dealingwith theeffectsofwithdrawalfrom thecompletecessation ofusingdrugsand/oralcohol
                                                                                                     .


    Ahersuccessfully completing detox, patientsreceivetrcatm entfortheirunderlying addiction in

    the form ofoutpatientcare, through PHPS,IOPs,and OPs. PHP,IOP,and OP patients attend

    facilities on an ongoing basis where treatment is rcndered
                                                               ,   generally in the form of therapy
    sessions. The distinction between thethreeprogramsrelatesto the amou
                                                                        ntoftherapy timeon a
    dailyorweekly basis,andpatientsgenerallytransitionfrom detox toPHP,thento IOP,and finally

    toOP astheyovercom etheiraddiction.

                  Private insurance companies, includingBlueCrossBlue Shield (BCBS) United
                                                                                           ,

   Health Càre(UHC),Aetna,Hurùana,Cigna, and others,offerhea1th care coverage directly to
   consumersand through employers, including ERISA and nOn-ERISA plans. These health plans
   covermedicaland clinicaltreatmentcostsofrehabilitation in accordance with th
                                                                                   etermsoftheir
   policiesand stateand federallaw , including requirementsthattesting and treatm entbemedically

   necessary,provided by properly.licensed subjectfacilities, and provided in accordancewith the
   termsofthehealth plans'contracts, including thercquirementto collectco-paysand deductibles
                                                                                                 .


          4.     Soàerhomes,conversely, do notprovidem edicalcareorclinicalservicesto their
   residents,butoperate solely as group residences where residents can live with a supportnetw ork

   ofothers in recovery. Because sober hom es m'
                                               e m erely places to live,they generate incom e to

   cover expenses througb the collection of weekly orm onthly rentpaid by thei
                                                                                rresidents,justas
                                                 2
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     withanyotherlandlord-tenantrelationship.

            5.     SubstanceabuscservicesinFloridaaregovernedbythe'$Ha1S. M archm anAlcohol

     and OtherDrug ServicesAct''(theM archman Act),which recognizesthatl'gslubstanceabuse
     impairm entisadiseasewhichaffectsthewholefam ilyandthewholesocietyandrequiresasystem

     ofcarethatincludesprevention,intervention, clinicaltreatment,andrecovery supportservicesthat

     supportandstrengthenthefnmily unit.''Fla.Stat.99397.301,397.30541). TheMarchman Act
     wasenactedtoprovideforaSdcomprehensivecontinuum ofaccessibleandqualitysubstanceabuse

    prevention,intervention,clinicaltreatmentand recovery supportservicesin the leastrestrictive

    environmentwhich promotes long-term recovery while protecting and respecting the rights of

    individuals.''Fla.Stat.j397.305(3).
           6.     The M archman Act sets forth a ç'comprehensive continuum of accessible and

    quality ...clinicaltreatmentservices,''including,'sintensiveoutpatienttreatment''(IOP),which
    wasaSiservicethatprovidesindividualorgroup counseling in amore structured environm ent, is
    ofhigherintensity anddurationthanoutpatienttreatment, and isprovided to individualswhomeet

    theplacementcriteriaforthiscomponent.''Fla.Stat,9397.311(26)(a)(6).
                  Alldsclinicaltreatm ent''underthe M archman Act, including IOP,needsto beçta

    professionally directed,deliberate,and planned regim en of strvices and interventions that are

    designed to reduceoreliminatethemisuseofdrugsand alcoholand prom otea health, drug-fret

    lifestyle-''FlaStat.j397,31l(26)(a).
           8.     Furtherm ore,the M archm an A ctmakesitunlaw fulforany person oragency to act

    asa substanceabuse service providerunlessitw asproperly licensed. Fla. Stat.9397.
                                                                                    401(1);Fla.
    9Admin.Codej65D-300.003(1)(a).
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                                        Com m ercialInsuran ce
                                                            -




              9.    BCBS, UHC, Optum, Aetna, Humana, and Cigna were ''health care benefit

     programs,''asdefnedbyTitle18,UnitedStatesCode,Section24(b).
              10.   BCBS,UHC,Optum,Attna,Humana,andCignaoftenm adepaymtntsdirectlyto

     physicians,medicalclinics,or otherhealth carc providers, rather than to the benefciary who

     receivedthehealth carebeneits,item s,and services.Thisoccurred when theprovideraccepted
     assignmentoftherighttopaym entfrom thebenefciary.

              11.   Toobtain paymentfortreatmentorservicesprovided to abeneiciary, physicians,
     medicalclinics,andotherhealth careproviderswererequired to submititem ized claim formsto

     the benetkiary's comm ercial insurance plan. The claim forms were typically submitted

    electronically viatheinternet.Theclaim form requiredcertain importantinform ation, including:

    (a)the beneficiary's name.health insurance claim number(HICN),or other identiscation
    numbcr;(b)adescriptionofthehealthcarebenefit,item,orservicethatwasprovidedorsupplied
    tothebeneficiary;(c)thebillingcodesforthebenefit,item,orservice;(d)thedateuponwhich
    thebeneflt,item,orservicewasprovidtdorsuppliedtothebenefciary;and(e)thenameofthe
    referring physician orotherhealth careprovider,aswellasauniqueidentifyingnum ber, known

    eitherasthe Unique Physician ldentifkation NumberIUPINIorNationalProviderIdentiser
    @ P1).
              12.   W hen a provider submitted a claim form to a com mercial insurance plan,the

    providercertifled thatthecontentsoftheform weretrue,correct,complete,andthattheform was

    prepared in com pliance w ith the applicable laws and regulations. The subm itting provideralso
    certifsed that the services being billed were m edically necessary and w ere in fact provided as
    billed.

                                                  4
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                                        ThvTrvatm enfCvatvrs
                                                 -           -




               13. Jacob'sW ell,Inc.(Jacob'sWeIl)wasaFloridacomoration,locatedat7950SW
     30th street, Suite 202,Davie,Florida. Jacob's W ellwas a substance abuse treatment center

     licensed with theFloridaDepartmentofChildren and Fam iliesthatpurporttdly providedprivate
    insurance beneiciarieswith substanceabusetreatmentsand services.

                    M ediMD,LLC.(M ediMD)wasaFloridacomoration,locatedat7950 SW 30tb
    Street,Suite200,Davie,Florida.M ediM D wasasubstanceabusetreatm entcenterlicensed with

    the Florida Departmentof Children and Fam ilies thatpum ortedly provided private insurance

    benefciarieswith substanceabusetreatmentsand services.

           15.      ArnicaHealth wasaFloridacom oration, located at7950 SW 30thstreet, Suite202,

    Davie,Florida. Arnica Health wasa substance abuse treatmentcenterlicensed with the Florida

    DepartmentofChildren and Fnmiliesthatpurportedly provided private insurance beneficiaries

    with substanceabusetreatmentsandservices.

                                          TheDefendants
           16.     D efendantALI AH M ED wasa residentofBroward County, TreasurerofJacob's

    W e11,DirectorofOperationsforM ediM D,and co-ownerofJacob'sW ell, M ediM D,and Arnica

    H ea1th.

           17.     DefendantSEBA STIA N AH M ED was a resident of Brow ard County and Palm

    BeachCounty,and ChiefExecutiveOffcerand co-ownerofJacob'sW ell, M ediM D,and Arnica
    Hea1th.

           18.     Defendant H ECTO R EFR AIN ALVA REZ was a residentof Broward County

    and ClinicalD irectorofM ediM D .

           19.     DefendantM A UREN M O REL w asa residentofBroward, ClinicalDirectorand
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     co-owneroflacob's W ell.

                                                C OU NT 1
                        C onspiracy to Com m itH ealth C are Fraud and W ire Fraud
                                              (18U.S.C.j1349)
            1.    Paragraphs 1through 19 ofthe GeneralAllegationssection ofthisIndictmcntare

     reallegedand incorporated byreferenceasiffully setforth herein.

                  From in or around June2016,and continuing through in oraround April2019, in

    Broward Counl,intheSouthern DistrictofFlorida,and elsewhere,the dtfendants,

                                            ALlA IIM EO
                                    SEBASTIANAIIZED
                                HECTOREFRMNALvARkz,and
                                         M AVREN M ou l-

    did willfully,thatis,with theintentto furtherto theobjectsofthtconspiracy,and knowingly
    combine,conspire,confederate,and agreewith each otherand othersknownand unknowntothe

    GrandJury,to comm itoffensesagainsttheUnited State,thatis:

                  a.     toknowingly andwillfullyexecuteaschemeand artificetodefraud ahealth

    care benefitprogram affecting com merce,as defined in Title 18,United States Code,Section

    24(b).thatis,BCBS,UHC,Optum,Aetna,Humana and Cigna,and to obtain,by meansof
    materially false and fraudulent pretenses,representations and prom ises,money and property

    owned by,and tmderthecustody andcontrolof,said health carebenefitprogrnm s,in connection

    with thedelivered and paymentforhealth care benefits,item s,and services,in violation ofTitle

    18,United StatesCodesSection 13479and

                         to know ingly and witb the intentto defraud.devise and intend to devise a
    scheme and artiflce to defraud and forobtaining m oney and property by m eansofm aterially false
    and fraudulentpretenscs,representations and prom ises,knowing the pretenses, representations,

    andpromiseswerefalse and fraudulentwhen made.and forthepurpose ofexecuting thescheme
                                                  6
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     andartifice,did knowinglytransm itand causetobetransmitted by meansofwirecomm unication

     in intcrstatecommerce,certain writings,signs,signals,picturesand sounds, in violation ofTitle
     18 United StatesCode,Section 1343.

                                PURPOSE OF THE CONSPIM CY
           3.     ltwasthepurposeoftheconspiracy forthedefendantsand theirco-conspiratorsto

    unlawfullyenrichthemselvesby,nmongothcrthings:(a)submittingand causingthesubmission
    offalseandfraudulentclaim stohealth carebenefitprogramsviainterstatewirecommunications:

    (b)concealingthesubmissionoffalseand fraudulentclaimstohealthcarebenefitprogrnms;(c)
    concealingthereceiptofthefraudproceeds;and(d)divertingthefraudproceedsfortheirpersonal
    useand benetlt,and theuseand benefitofothers,and to furtherthefraud.

                        M ANNER AND M EANS OF THE CONSPIRACY
           The m imner and means by which the defendants and their co-conspirators soughtto

    accomplishthtobjectsandpuposeoftheconspiracyincludtd,nmongothers,thefollowing:
           4.     AL1AHM ED,SEBASTIAN AH M ED,and M AUREN M OQEL,submittedand

    causedothersto subm it,viainterstatewirecommunications,approximately $1,693,276 in claim s
    which falsely and fraudulently represented thatvarioushealth care benefits,primarily substance

    abusePHP,IOP,and OP services,weremedically necessary.prescribedbyadoctor, and provided

    by Jacob':W ellto insurancebendfciariesofAetna,BCBS,CignaandUHC.

           5.     As a resultofsuch false and fraudulentclaims,Aetna,BCBS,Cigna,and UHC

    made paymentsto the comorate bank accounts ofJacob's W ellin the approximate amountof
    $320,301.
           6.     AL1 AH M ED ,SEBAST IAN A HM ED, and H ECTO R EFRM N ALVAR EZ

    subm itted and caused others to subm it, via interstate wire com m unications, approxim ately

                                                 7
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     $21,899,439 inclaimswhich falsely and fraudulentlyrepresentedthatvarioushealth carebenefits,
     primarily substanceabusePHP,IOP,andOP services,werem edicallynecessary, prescribed bya

     doctor,andprovided byM ediM D toinsurancebeneficiariesofAetna,BCBS.Cigna,Humanaand

     U HC.

             7.     Asaresultofsuch falseandfraudulentclaim s,Aetna,BCBS,Cigna,Humanaand

     UHC madcpaymentsto thecomoratebank accountsofM ediM D in the approximate amountof

     $3,884.035.
             8.     ALIAH M ED and SEBASTIAN AHM ED subm itted andcaused otherstosubmit,

    via interstate wire com munications,approximately $283,631 in claims which falsely and
    th udulently rtpresentedthatvarioushealth carebenefts,primarily medicalservictsandtesting,

    were medically necessary,prescribed by a doctor,and provided by Arnica Hea1th to insurance

    beneficiariesofBCBS,Cigna and UHC.

             9.    As a resultof such false and fraudulentclaims,BCBS,Cigna and UHC made

    paymentstothe com oratebank accountsofAm icaHea1thintheapproxim ateamountof$26,950.

                   A LI A H M ED, SEBASTIA N A H M ED,H ECTO R EFR M N A LV A REZ, and

    M AUREN M OREL,usedtheproceedsofthehealthcarefraud fortheirpersonaluseandbencfit,
    theuseand beneftofothersand to furtherthefraud scheme.

             A11inviolation ofTitle 18,United StatesCode,Section 1349.

                                                CO UNTS 2-11
                                             H eaIth Care Fraud
                                              (18U.S.C.j1347)
                   Paragraphs 1through 19 ofthe GeneralA llegations section ofthisIndictm entare

    realleged and incom orated by rcference as iffully setforth herein.

           2.      From in oraround June2016,and continuing through in oraroundApril2019,in
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     Broward County,in theSouthernDistrictofFlorida,and elsewhere,the defendants,

                                           A LI A IIM E 0 .
                                    SEBASTIAN AHkE0.
                                HECTOREFRAIN AluvARfz,and
                                        M AIJM N M OR EL ,
     in connection w1t11the delivery ofand paymentforhealth care beneGts, item ssand services,did

     knowinglyandwillfully execute,andattempttoexecute,aschem eand artificeto defraud ahealth

    care bentfitprogram affecting commerce,as defncd in Title 18,United States Code,Section

    24(b),thatis,BCBS,UHC,Optum,Aetna,Humana and Cigna,and to obtain,by meansof
    m aterially false and fraudulent pretenses. represtntations, and prom ises,m oney and property

    owned by,and underthe custody and controlofsaid health care benetitprogram s.

                                     PurposeoftheSchemeand Artisce

           3.     Itwasapurposeoftheschemeand artificeforthedefendantstounlawfully enrich

    themselvesby,nmong otherthings:(a)stlbmitting and causing the submission offalse and
    fraudulentclaimsto a health care benefitprogram;(b)concealing the submission offalse and
    fraudulentclaimstoahealthcarebenefitprogram;(c)concealingthereceiptofthefraudproceeds;
    and(d)divertingthefraudproceedsfortheirpersonaluseandbeneft,andtheuseandbeneûtof
    others,and to furtherthefraud.

                                      The Schem e and Artifice

                  The allegationscontained in paragraphs4 through 10 ofthe M mm erand M eans

    section ofCount1ofthisIndictm entarerealleged and incomorated by reference asthough fully

    setforth herein msa description ofthe schem eand artifce.
                  A vts in Exeeution or Attem pted Execution ofthe Schem e and A rtifce

                  On or aboutthe datesspecified asto each countbelow,in Broward County,in the

    Soutlwrn Districtof Florida,and elsewhere:the defendants,as specified in each countbelow ,in
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     connection with the delivery ofand paym entfor health care beneûts,items,and services,did

     knowinglyand will/ lly execute,andattemptto execute,the above-described scheme andartifke

    todefraud ahealth carebenefitprogrsm affcctingcommerce,thatis,BCBS,UHC, O ptum ,Aetna,

     Humana and Cigna, and to obtain,by means of m aterially false and fraudulent pretenses,

    representations,and prom ises,money andproperty owned by,and underthecustody and control
    ofsaid health care beneûtprogrnm s,in thatthedefendantssubmitted and caused the submission

    offalse and fraudulentclaimsto BCBS,UHC,Optum ,Aetna,Humana and Cigna seeking the
    identifieddollaramotmts,andrepresentingthatthesubstanceabusetreatmentscenterslistedbelow

    provided medicaltreatment and servicts to commercialbenefkiaries pursuantto physicians'

    ordersand prescriptions:

                                     Approx. claim     Ins.                Service: Claim ed;
   Count     Defendants        Bene. oatt of N        pjan        Location A pprox.A m ount
                                     S         um ber
                                      ervice                                   C laim ed
    2      ALIAHM ED,          B.L. 12/24/16 63915484 UHC          Jacob's    A1lInclusive
           SEBASTIAN                           4801                 W ell  AncillaryGeneral
             AHM ED,                                                          (240);$7,800
             M AU QEN
              M OR EL,
    3      A Ll AH M ED ,      R.A . 03/23/17 EHFBYP A etna       Jacob's     ACA S Default
           SEBASTIAN                          44M 00               W ell     Procedure Code
             AHMED,                                                           (906);$1,575
            M AUREN
            M O REL,
    4      ALIAHM ED,          M .G. 02/07/18 14100000 BCBS M ediM D              Partial
           SEBASTIAN                         66j312348                        Hospitalization
             AHM ED,                                                        Scrvices,LessThan
             HECTOR                                                         24 Hours,PerDiem
             EFRAIN                                                           (912);$2.495
            A LVA REZ
    5      A Ll AH M ED ,      K .E. 02/21/18 H 10û000 BCB S M ediM D              Partial
           SEBASTIAN                         664312557                        H ospitalization
             A HM ED,                                                       Services,LessThan
             HECTO R                                                        24 H ours,PerDicm
             EFRAIN                                                           (912);$2,495
            A LV AREZ
                                               10
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                                  A pprox. c laim     Ins.          Service:Claim ed;
   Ceunt    D efendants     Bene. p ate of           pjan Location Approx.Am ount
                                  S         Num ber
                                   ervice                               C laim ed
     6     AL1AHM ED,       B.H, 05/22/18 H 100000 BCBS M ediM D AlcoholAnd/or
           SEBASTIAN                       676250604                  Drug Services;
             A H M ED                                              Intensive O utpatient
                                                                             PerDiem (906);
                                                                                  $1,795
     7     ALIAHM ED,        D.E. 06/04/18 46518172 Cigna M ediM D             AlcoholAnd/or
           SEBASTIAN                        98744                              Drug Services;
            AH M E D,                                                       Intensive O utpatient
            ALVAREZ                                                          PerDiem (906);
            HECTOR                                                                $1,795
             EFM IN
            A LVA REZ
     8     ALIAHM ED,        A.A. 06/20/18 86818177 Cigna M ediM D                 Partial
           SEBA STIAN                       20498                             Hospitalization
             AH M ED,                                                       Services,LessThan
            HECTOR                                                          24Hours,PerDiem
             EFRAIN                                                            (912);$2,495
            ALVAQEZ
     9     ALIAHM ED,        R.C. 06/29/18 H 100000 BCBS M ediM D                  Partial
           SEBASTIA N                     680315660                           Hospitalization
             AHM ED,                                                        Services,LessThan
            H ECTO R                                                        24 Hours,PerDiem
             EFRM N                                                            (912);$2,495
            ALVA QEZ
    10     ALIAHM ED,        M .B. 07/16/18 H 100000 BCBS M ediM D                 Partial
           SEBASTIA N                      683297881                          Hospitalization
             AH M ED,                                                       Services,LessThan
             H ECTO R                                                       24 H ours,PerDiem
             EFRAIN                                                            (912);$2,495
            ALVAREZ
    11     ALIAHM ED,        R,S. 01/01/19 EW Y03M Aetna M ediM D              ACAS Default
           SEBASTIAN                            617700                        ProcedureCode
             AHMED,                                                            (913)9$2.495
            H ECTO R
             EFR M N
            ALVA REZ


           In violation ofTitle l8,United StatesCode,Sections 1347 and 2.



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                                                          L2
                                                   - -.-........-.................

                               Conspiracy to Com m itM oney Laundering
                                           (18U.S.C.j1956(h))
                    Paragraphs13through 17ofthe GeneralAllegationsScction ofthisIndictmentare
     realleged and incom orated byreferenceasiffully setforth herein.

              2.    From in oraround June2016,and continuing through in oraround April2019, in

     Broward County,in theSouthern DistrictofFlorida,andelsewhere,the defendants,

                                           ALI AH M ED and
                                         SEBASTIAN AHM ED,

     did willfully,thatis,with the intentto furtherthe objects ofthe conspiracy,and knowingly
     combine,conspire,confederateand agreewith each otherand withothersknown and unknownto

     theGrand Jury,to commitoffensesunderTitle 18,United StatesCode, Sections 1956 and 1957,

     towit:

            a.     to knowingly conduct a financial transaction affecting interstate and foreign

     commerce,which financial transaction involved thc proceeds of specified unlawfulactivity,

     knowing thattheproperty involved in thefinancialtransactionrepresented the proceedsofsome
     form ofunlawfulactivity,and knowingthatthe transaction wasdesigned in wholeand in partto

     concealand disguise the nature,the location,the source,the ownership,and the controlofthe

     proceeds of specised unlawfulactivity.in violation ofTitle 18,United States Code,Section

     1956(a)(1)(B)(i);and
            b,     to knowingly engage in a monetary transaction by,through,and to a fnancial
     institution affecting interstate and foreign com m erce,in crim inally derived property of a value

     greaterthan $10,000,suchproperty being derived from specified unlawfulactivity,knowingthat
     the property involved in the m onetary transaction was derived from som e form of unlaw ful

     activity,in violation ofTitle 18,United States Code,Section 1957.
                                                      12
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             Itis furtheralleged thatthe specified unlawfulactivity ishealth care fraud,in violation of

     Title 18.United StatesCode,Section 1347.

             Al1inviolation ofTitle18,UnitedStatesCode,Section 1956(h)
                                            CO UN TS 13-22
                                           M oney Laundering
                                           (18U.S.C.j1957(a))
             On oraboutthe datesasto each countsetforth below ,in Broward County,in the Southern

     D istrictofFlorida,and elsewhere,the defendant,

                                         SEBASTIAN AHM ED,

     did knowingly engage and attemptto engage in a monetary transaction by,through,and to a

     snancialinstitution affecting interstateand foreign comm ercein criminally derived propertyofa

     value greater than $10,000,and such property having been derived from specified unlawful
     activity,knowing thatthe property involved in the monetary transaction was derived from some

     form ofunlawfulactivity,assetforth below:

            A pprox.
      Count Dateof                            Description ofM onetary Transaetion
           Transaction
                              $300,000 transferfrom accountnumberending in 0517 in thename of
                 01/02/18     M ediM D LLC atJP M organ ChaseBank to accountnumberending in
                              3422 in the nam e of Sebastian Ahm ed CPA LLC d/b/a A rnica Hea1th
                              M anagem entCom pariy atJP M organ Chase
                              $300.000 tranlferfrom accountnumberending in 0517 in the nameof
                 01/16/18     MediMD LLC atJP MorganChaseéanktoaccountnumberendingin
                              3422 in the name of Sebastian Ahmed CPA LLC d/b/aArnica Hea1th
                              M anagem entCom pany atJP M organ Chase
                              $100,000 transferfrom accountnumberending in 0517 in thename of
        15       02/20/18     M ediM D LLC atJP M organ Chase Bnnk to accountnum ber ending in
                              3422 in the nam e of Sebastian Ahm ed CPA LLC d/b/a A rnica H ealth
                              M anagem entCom pany atJP M organ Chase
                              $180,000 transferti'om accountnumberending in 0517 in thename of
                 03/12/18     M ediM D LLC atJP M organ Chase Bank to accountnum berending in
                              3422 in the nam e of Sebastian Ahm ed CPA LLC d/b/a A rnica Health
                              ManagementCompanratJPMorganChase
                                                     13
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               A pprox.
     Count      Date of                      D escription ofM onetary T ransaetion
              Transaction
                             $125.000 transferfrom accountnumberending in 0517 in the nameof
                             M ediM D LLC atJP M organ Chase Bnnk to accountnumberending in
       17       04/02/18     3422 in the name ofSebastian Ahmed CPA LLC d/b/a Am ica Health
                             M anagementCompany atJP M organChase
                             $125,000 transferfrom accountnumbcrending in 0517 in the nameof
                             M ediM D LLC atJP M organ Chase Bank to accountnumberending in
       18       04/19/18     3422 in thename ofSebastian Ahmed CPA LLC d/b/a Arnica Hea1th
                             M anagem entCompany atJP M organ Chase
                             $100,000 transferfrom accountmlmberending in 0517 in the name of
                             M ediM D LLC atJP M otgan ChaseBnnk to accountnum berendingin
       19       08/09/18     3422 in the name ofSebastian Ahmed CPA LLC d/b/a Am ica Hea1th
                             M anagem entCompanyatJP M organ Chase
                             $100:000 transferfrom accountnumberending in 0517 in the nameof
                             M ediM D LLC atJP M organ ChaseBnnk to accountnumberending in
      20        08/22/18     3422 in the nam e of Sebastian Ahm ed CPA LLC d/b/a Arnica Hea1th
                             M anagem entCompany atJP M organ Chase
                             $400.000 wiretransferfrom accountnumberendingin9528 inthename
      21        10/09/18     ofAltmed Family InvestmentsatSunTrustBank to M organ,Olsen &
                             Olsen,LLP IOTA
                             $250,000 transferfrom accountnumberending in 3422 in thenameof
                             Sebastian Ahm ed CPA LLC d/b/a ArnicaH ealth M anagem entCom pany
       22       10/24/18     atJPM organChaseBankto accountnumberendingin 1959inthename
                             of Sebastian Ahmed CPA LLC d/b/a Arnica Health M anagement
                             Com an atJP Mor an ChaseBank

            Itisfurtheralleged thatthe specified unlaw fulactivity ishealth care fraud,in violation of

    Title 18,United StatesCode,Section 1347.

            InviolationofTitlel8,UnitedStatesCode,Sections1957(a)and2.




                                                    14
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                                           FO RFEITUR E
                                    (18U.S.C.5982(a)(i$,(a)(7))
                   The allegations contained in this Indictment are realleged and incorporated by

     referenceasthough fully setforth herein forthepup oseofallegingforfeituretotheUnitedStates

     ofcertain property in w hich the defendants,ALI AH M ED,SEBA STIA N A H M ED ,H EC TO R

     EFR M N A LVAREZ,and M AUR EN M O REL havc an interest.

            2.     Upon conviction ofa violation ofTitle 18,United StatesCode,Section 1347 or

     1349,asalleged in Counts1through 11ofthisIndictment,thedefendantso convicted shallforfeit

     to the United States any property,real or personal,that constim tes or is derived. directly or

     indirectly,from grossproceedstraceabletothecommissionofsuchviolation,pursuanttoTitle18,

     UnitedStatesCode,Section982(a)(7).
                   Upon a conviction ofaviolation ofTitle 18.United StatesCode,Section 1956 or

     1957,asalleged inCounts12tk ough22ofthisIndictment,thedefendantsoconvicted shallforfeit

     to the United States any property,realorpersonal,involved in such offense,or any property

     traceabletosuch property.

                   Thepropertysubjecttoforfeitureincludes,butisnotlimitedto,thefollowing:
                   a. the sum ofatleast$3.688,986.91in United Statescurrency,which nmountis
                      equalto the grossproceedstraceableto the com m ission oftheviolationsalleged

                      in this lndictm enk which the United States willseek as a forfeiture money

                      judgmentaspartofthedefendant'ssentence;
                   b. Realproperty located at3021N E 55thPlaceFortLauderdale,Florida 33308;

                   c. A11fundson depositin accountnum ber989095464135 held atBank ofA m erica

                      in the nam eofM ediM D LLC;


                                                  15
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                 d. A1lfunds on depositin accountnum ber 898220517 held atJP M organ Chase

                     Bank inthenam eofM ediM D LLC;
                 e. A11fundson depositin accountnumber3726601959 held at.
                                                                        1P M organChase

                     Bank inthenam eofSebastianAhm edCPA LLC d/b/aArnicaHealth Systems

                     M anagement;and
                  f. Allfundson depositin accountnumber990553422 held atJP M organ Chase

                     Bank in thenameofSebastianAhmed CPA LLC d/b/aArnica11ea1th Systems

                     M anagem ent.
           5. lfthepropertydescribedaboveasbeingsubjecttoforfeiture,asaresultofanyactor
              omission ofthedefendants,

                  (a)    cannotbelocated upon the exerciseofduediligence;

                  (b)    hasbeentransferredorsoldto,ordepositedwithathirdperson;
                  (c)    hasbeenplacedbeyondthejurisdictionoftheCourt;
                  (d)    hasbeensubstantiallydiminishedinvalue;or
                  (e)    hasbeencommingledwithotherpropertywhichcannotbesubdivided

                  withoutdiffkulty;
     itistheintentoftheUnited States,pursuanttoTitle21,United StatesCode,Section 853(p),to
     seek forfeiture ofany otherproperty ofthe defendantsup to the value ofthe above forfeitable

     propcrtyand,inaddition,toseekacourtorderrequiringthedefendantsto returnanysuchproperty

     tothejurisdictionofthecourtforseizureandforfeiture.




                                                 16
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           Allpursuantto Title l8,United States Code,Section 982(a)(1) and (a)(7);and the
     proceduressetforth atTitle 21,U nited StatesC ode,Section 853,as m ade applicable by Title 18,

     UnitedStatesCode,Section982(b)(1).
                                                              A TRUE BILL

                                                            n        J
                                                              FO     ERSO N



         t                    > -ù
     ARIAN A FAJA RDO ORSH AN
     UNITED STATES AU ORNEY

                               # e
     CHRISTO E .CLA K
     ASSISTANT ITED STATES ATTORN EY
Case 0:19-cr-60200-DMM Document 1 Entered on FLSD Docket 07/11/2019 Page 18 of 22
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                            SOUTHERNX '
                                      X IW OFFLORIDA
UNITED STATES OF AM ERICA                           CASE NO.

                                                    C ERTIFICATE O F TR IAL ATTO RNEY.
ALIAHM ED.etaI.,
                                                    SupersedingCaseInform ation:
                         Defendanl.   /

CourtDivigion:(sel
                 eot(>=)                            New defendanttsl              Yes         No       -
      Miami            Ke W est                     Numbrrofnew defendants
 d    FTL --           W s -      yvp               Totalnumberofcounts

              Ihave carefully considered theallcgationsofthe indic% cnt,thcnumberofdefendants.thenumbtrof
              probablewitnessesandthelegalcom plexitiesoftheIndictmcnt/lnfom mtion attachedhereto.
              1 am aware thattlw inform ation supplicd on thisstatementwillbe rclied upon by the Judges of this
       2.
              Courtin setting their calcndars and schcduling criminaltrials underthe mnndate ofthe Speedy Trial
              Act,Title 28 U .S.C.Section 3161.
              Interpreter:    (YesorNo)       Yes
              Listlanguageaniordialect        -
                                              SPANISH
       4.     Thiscase willtakc 8 daysforthepartiesto try.
       5.     Pleasechcck appropriatecategory and type ofoffenselisted bclow:
              (cbekouly@ne)                                (Cbeckoulyone)

       I      0to5days                                      Petty
       11     6 to 10days                 d                 M inor
       IIl    11to20days                                    M isdem .
       IV     21to 60days                                   Felony
       V      61daysandover
       6.     Hasthiscasepreviouslybeen iled in thisDistrictCourt?               (YesorNo)    No
        Ifyes;Judge                                CaseNo.
        (Attach copyofdispositiveordcr)
        Hasacomplaintbeenfiled inthismatter?         (YesorNo)         NO
        lfyes:M agistrat:CaseNo.
        Rtlated miscellaneousnumbers:
        Defendantts)infederalcustodyasof                                                           -
        Defendantts)instatecustodyasof                                      --       --                -     -
         Rule20from theDistrictof                                -                              -
         Isthiqapotentialdeath penalty case?(YcsorNo)
                                      .

                Doesthiscase originatc9om a matterpcnding in theCenealRegion oftheU .S.Attorney'sOfsce
                priortoAugust9,2013(M ag.JudgeAlicia0,Valle)?                    Yes           No d
                Doesthiscase originattfrom am atterpending in theN orthern Region U.S.A ttorney'sOë ce
                priortoAugust8,2014(M ag.JudgeShaniekMaynard)?                    Yes          No z

                                                                                          1
                                                             CHRIST H J.C ARK
                                                             ASSISTANT UNITED STATES ATTORNEY
                                                             CourtNo.0588040
                                                                                                       REV & l3/201#
   *penaltySheetls)attached
Case 0:19-cr-60200-DMM Document 1 Entered on FLSD Docket 07/11/2019 Page 19 of 22
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                            U NITED STATES DISTRICT CO URT
                            SO UTHERN DISTRICT OF FLORIDA

                                       PEN ALTY SHEET

    Defendant'sNam e:ALlAHM ED                                        -

    C R:eNo:                                                      -       -

    Count#:1

    Conspiracv to CommitHealth Care Fraudand W ircFraud
                                                                                      -
                                                          .
      .            -




    Title 18.United StatesCode.Section 1349

    *M ax.Penall:       Twentv(20)Years'Imprisonment
    Counts#:2-11

    Hea1thCareFraud
    Title I8.United StatesCode.Section 1347

     *M ax.Penaltv:
          -
                          Ten (10)Years'lmprisonmentAsTo Each Count               -

     Count#:12
     Conspiracyto CommitM oney Laundering
                                        -




     Title 18.United StMesClde.Svction 1956(h)                -
     *M ax.Penaltv:    Twenty(20)Year'sImprisonment
     WRefersonlytopossibleterm ofincarceration,doesnotincludepogglbleGneg,restitution,
     specialassessm ents,parole term s,or forfeituresthaf m ay be applicable.
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                                UNITED STATES DISTRICT COURT
                                SO UTH ERN DIST RICT O F FLO RIDA

                                          PENA LTY SH EET

    Defendant'sName:SEBASTIAN AHM ED

    CaseN o:

    Count#:1
    ConspiracvtoCommitHealth CareFraud and W ireFraud

    Title 1#.U nited StatesCode.Section 1349
       --   -            .




     *M ax.Penaltv;          Twenty 420)Yvars'Impriaonment

    Counts#:2-11

    Health CareFraud                                           -
    Title 18.United StatesCode.Section 1347                                              -
     *M ax.Ptnall :          Ten (10)Years'lmprisonmentAsTo Each Count
     Count#:12
     Conspiracyto Comm itM onev Launderinm                                           -       -

     Title18.UnitedStatesCode.Section 19564h)
     *M ax.Penaltv:           Twentv(201Years'Imprisonment

     Counts #:13-22

     M onev Laundering
     Title 18.United StatesCode.Section 19574a)
     *M ax.Penaltv:          Ten (10)Years'ImorisonmentAsTo Each Count
     *Refer,only to ptusible term oflncarceratlon.doe: notinclude po:gible nnex,rextitution,
     specialassesgm ents,paroleterm sjorforfeituresthatm ay be applicable.
Case 0:19-cr-60200-DMM Document 1 Entered on FLSD Docket 07/11/2019 Page 21 of 22
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                             UNITED STATES DISTRICT COURT
                             SO UTH ERN DISTRICT O F FLOR IDA

                                         PENALTY SHEET

    Defendant'sName:HECTOR EFM IN ALVAREZ

    C aseNo:

    Count#:1
    ConspiracytoCommitHealth CareFraudand W ireFraud

    Title 18.United S-tate-sC-ode-.Se
          .
                                    -ction 1349                              . .--
    *M ax.Penaltv:        Twentv (201Years'lmprisonment

     Counts#;4-5 & 7-11
     Health CareFraud    . -                                 -
     Title 18.United StatesCode.Sçctinn 1347
     *M ax-.Penalty:     Ten t10)Years'ImprisonmentAsToEach Count
     WRefersonly topossibleterm ofincarceration,deesnotincludepossiblennes,restitution,
     spvcillassessment:,paroleterm x,orforfeituresthatmay beapplicable.
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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                      PEN ALTY SHEET

   Defendant'sName:M AUREN M OREL

    CaseNo:
    Count#:1
    CtmsniracvtoCommitHe&1th Care Fraudand W irtFrand -         -        .

    Title 18.United StatesCodeqSection 1349
    *M ax.Penaltv;      Twvntv (20)Yeam '-lmprisppment

    Counts#:2 & 3

    Hea1th CareFraud
     Title 18.United StatesCode.Section 1347             -
     *M ax.Penaltv:       Ten (10)Years'ImprisonmentAs7'o Each Count
     *Refersonly topessibleterm oflncarceration,doe:notincludepossiblennes,restitution.
     specialagsexgm ent:,paroleterm s,orforfeiture:thatm ay beapplicable.
